            Case 1:15-cv-01579-LJB Document 5 Filed 01/08/16 Page 1 of 9



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                                              No. 15-1579 C

                                        (Filed January 8, 2016)

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                                                         *                   FEDERAL CLAIMS
 SHLN{TAY ANTONIO BROWN
AND WILLIE JESS LPSCOMB.                                 *

                       Pro Se Plaintffi,                      Pro Se Complaint; No Claims
                                                              within This court's
                                                              Jurisdiction.
                                                         ,r

THE UNITED STATES,                                       t

                      Defendant.
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                                                 OPINION

      The court has before it plaintiffs' pro se complaint filed December 28,2015.
Because this court lacks jurisdiction over plaintiffs' claims, their suit must be
dismissed pursuant to Rule l2(hX3) of the Rules of the United States Court of
Federal Claims (RCFC). The reasons for this sua sponte dismissal are set forth
below.

                                            BACKGROI]I{D'

       The complaint filed by Mr. Brown and Mr. Lipscomb is not easy to
decipher. Although the general introduction to the complaint succinctly states that
plaintiffs seek redress for "violation of [their] constitutional rights under the 14th


          r/ The   facts recited here are drawn from the complaint. The court makes no findings     of
lact in this opinion.
         Case 1:15-cv-01579-LJB Document 5 Filed 01/08/16 Page 2 of 9




Amendment to the United States Constitution," Compl. at l, the remainder of the
complaint presents an expansive set of factual allegations, seven separate counts, a
request for several types ofrelief, and eight attachments.2 The court has examined
the complaint thoroughly in an attempt to discern the true nature of plaintiffs'
claims. The court provides here a summary of the topics presented in the
complaint. Most of these topics appear to address the particular circumstances of
Mr. Brown, although some of these topics appear to address the circumstances of
both Mr. Brown and Mr. Lioscomb.

       Mr. Brown and Mr. Lipscomb are brothers, and Mr. Brown is the legal
guardian of Mr. Lipscomb due to the latter's mental retardation. Compl. at 9.
Difficulties in their living situation appear to be related to unemployment, loss of
housing and the denial ofvarious federal benefits. See id. at I ("This action seeks
just compensation from the United States for property ([]Jobs, Housing and Social
 Security Benefits SSVSSDI) taken from the Plaintiff . . . ."). There are also
 numerous references to the negative outcomes ofprevious litigation before federal
 courts. Because plaintiffs in this lawsuit may seek to collaterally attack the
judgments of other federal courts, the court briefly reviews some of the litigation
referenced in the complaint.

        In early 2015, the United States Court of Appeals for the Seventh Circuit
rejected an appeal brought by Mr. Brown regarding the "dismissal of his federal
civil-rights lawsuit." Brown v. Charles T. Ryan, Ltd.,596 F. App'x 504,504 (7rh
Cir. 2015). One of the defendants named in the suit was the "'Federal Reserve
System."' Id. The lawsuit brought by Mr. Brown alleged various constitutional
rights violations and ADA violations related to a bankruptcy proceeding and the
brothers' eviction from a condominium.3 Id. The district court dismissed the suit
for lack ofjurisdiction and the Seventh Circuit affirmed.

     The March 12,2015 decision of the Seventh Circuit is attached to plaintiffs'
complaint. Compl. Att. A-1. Bankruptcy proceedings are discussed at length in

       2/ The documents attached to the complaint are divided into the following discrete
attachments: Attachments A-1,A-2,B-1,B-2,C-1,D-1,D-2,andAGroup. The court has
supplied pagination to these documents.
         3/ TheAmericanswithDisabilitiesActof 1990,42U.S.C.$ 12101 etseq. (2012),is
rel'erred to in this ooinion as the ADA.
          Case 1:15-cv-01579-LJB Document 5 Filed 01/08/16 Page 3 of 9




the complaint.o Id. at2-4, Att. B-2. Loss of housing is also referenced in the
                                                                     of
complaint. Id. at 1,5. In addition, the complaint repeatedly invokes the rights
personslivingwithdisabilities. Id.\nn,33-34,36-37,40,46-47,54,67-69,73,
75-76,78. Thus, it would appear that at least some of the rights violations alleged
in the complaint are related to bankruptcy proceedings, particularly in the actions
of bankruptcy trustees, and others are related to the brothers' loss of housing, an
occurrence which is alleged to implicate the Federal Reserve System.

       The complaint also contains a lengthy discussion of criminal proceedings.
Compi. at 5-6. The underlying charge against Mr. Brown was "making false
statements under penalty of perjury in a bankruptcy case." United States v. Brown,
No. 1,4-2524,2015 WL 7292770, at * I (7th Cir. Nov. 19,2015). Mr. Brown pled
guilty but later asserted that his right to a speedy trial had been violated. Id. The
Seventh Circuit disagreed and dismissed his appeal. Id. at*3.

       The November 19, 2015 decision of the Seventh Circuit is attached to
piaintiffs' complaint. Compl. Att. C-l at 5-9. Mr. Brown's right to a speedy trial,
and allegations of misconduct by the United States Department of Justice, are
referenced in plaintiffs' complaint. Id. at5-6. Thus, another set ofplaintiffs'
claims are focused on violations of Mr. Brown's rights in criminal proceedings.

      Finally, the United States District Court for the Northem District of Illinois
recently dismissed Mr. Brown's suit against the director of the Social Security
Administration (SSA). Brown v. Colvin, No. 15-C-1313 (N.D. Ill. Dec. 3,2015)
(unpublished order). The court noted that the SSA had denied Mr. Brown
disability insurance benefits (SSDD and supplemental security income (SSD. 1d
at 1. Mr. Brown apparently failed to file a timely appeal of the final decision of an
administrative law judge who considered Mr. Brown's application for
SSA-administered benefits. Id. at l-2. The district court therefore dismissed Mr.
Brown's suit for failure to exhaust administrative remedies, and also denied his

        o/ There may also be an employment-related claim in the complaint's discussion of
bankruptcy proceedings. See Compl. 11 8 ("Plaintiffhas been off work since September 29,2011
without pay and work."); fl 9 ("This action by the chapter 7 trustee was done to sabotage[] the
employee's benefits and investments."); tT 10 ("[The bankruptcy trustee] place[d] the Plaintiffin
a position that he does not believe was appropriate because it lorced him to work outside his
union restriction hours per week . . . ."). Any claims against bankruptcy trustees referenced in
the complaint will be discussed in the "Tort Claims" section of this opinion, infra.
         Case 1:15-cv-01579-LJB Document 5 Filed 01/08/16 Page 4 of 9




motion for reconsideration of that dismissal. 1d

        The December 3.2015 decision of the district court is attached to the
 complaint. Compl. Att. D-2. That decision, and Mr. Brown's efforts to obtain
judicial review of the actions of the Social Security Administration, are discussed
 in the complaint. Id. at 6-7. Plaintiffs have also attached a number of documents
which illustrate Mr. Brown's interactions with the SSA. Compl. Att. A Group. It
 is clear from these documents that Mr. Brown has long contended that his
 constitutional rights were violated when the SSA denied him SSDI and SSI
benefits. 1d. Thus, the complaint appears to include claims that plaintiffs'
 constitutional rights were violated by the SSA.

                                   DISCUSSION

      Pro Se Litigants

       The court acknowledges that Mr. Brown and Mr. Lipscomb are proceeding
pro se and are "not expected to frame issues with the precision of a common law
pleading." Roche v. U.S. Postal Serv.,828 F.2d 1555, 1558 (Fed. Cir. 1987). Pro
se plaintiffs are entitled to a liberal construction of their pleadings. See Haines v.
Kerner,404 U.S. 519,520 (1972) (requiring that allegations contained inapro se
complaint be held to "less stringent standards than formal pleadings drafted by
lawyers"). Accordingly, the court has examined the complaint thoroughly and has
attempted to discern all of piaintiffs' claims and legal arguments.

II.   Jurisdiction

         In order to determine its jurisdiction over plaintiffs' suit, this court must
presume all factual allegations in the complaint to be true and construe all
reasonableinferencesinfavorofplaintiffs. Scheuerv.Rhodes,416U.S.232,236
(1974), abrogated on other grounds by Harlow v. Fitzgerald,45T U.S. 800
 ( 1 982); Reynolds v. Army & Air Force Exch. Serv. , 846 F .2d 7 46, 7 47 (Fed. Cir.
 1988). However, plaintiffs bear the burden of establishing subject matter
jurisdiction, Alder Terrace, Inc. v. United States,l6l F.3d 1372, 1377 (Fed. Cir.
 1998) (citing McNutt v. Gen. Motors Acceptance Corp. of lnd.,298 U.S. 178, 189
 (1936)), and must do so by a preponderance ofthe evidence, Reynolds,846F.2dat
 748 (citations omitted). If subject matter jurisdiction is found to be lacking, this
        Case 1:15-cv-01579-LJB Document 5 Filed 01/08/16 Page 5 of 9




court must dismiss the action. RCFC 12(hX3).

       The Tucker Act delineates this court's jurisdiction. 28 U.S.C. $ 1491
(201.2). That statute "confers jurisdiction upon the Court of Federal Claims over
the specified categories of actions brought against the United States." Fisher v.
United States, 402 F.3d 1167 , ll72 (Fed' Cir. 2005) (en banc) (citations omitted).
These include money damages claims against the federal govemment founded
upon the Constitution, an act of Congress, a regulation promulgated by an
executive department, any express or implied contract with the United States, or
any claim for liquidated or unliquidated damages in cases not sounding in tort. Id.
(citing 28 U.S.C. $ 1ae1(a)(1)).

       The Tucker Act concurrently "waives the Govemment's sovereign
immunity for those actions." Id. The statute does not, however, create a
substantive cause of action or right to recover money damages in the Court of
Federal Claims. Id. "[Tlo come within the jurisdictional reach and the waiver of
the Tucker Act, a plaintiff must identiff a separate source of substantive law that
creates the right to money damages." Id.

        In other words, the source underlying the cause of action must be
money-mandating, in that it "'can fairly be interpreted as mandating compensation
by the Federal Govemment.'" United States v. Testan, 424 U.5.392,400 (1976)
(quoting EastportS.S.Corp.v.UnitedStates,3T2F.2d 1002, 1009 (Ct.Cl. 1967)
and citing Mosca v. United States, 417 F.2d 1382, 1386 (Ct. Cl. 1969)). If the
provision relied upon is found to be money-mandating, the plaintiff need not rely
upon a waiver of sovereign immunity beyond the Tucker Act. Huston v. United
States , 956 F .2d 259,26 I (Fed. Cir. 1992) (citing United States v. Mitchell, 463
U.S. 206, 2 I 8 ( 1983). If, on the other hand, no money-mandating source supports
the cause of action, this court lacks subject matter iurisdiction and must dismiss
the action.

III.   Jurisdictional Analysis of the Complaint

       A,    DiscriminationClaims

     Plaintiffs allege that their loss of income and housing, the violation of Mr.
Brown's right to a speedy trial, and the denial of Mr. Brown's application for
            Case 1:15-cv-01579-LJB Document 5 Filed 01/08/16 Page 6 of 9




SSDI and SSI benefits were the result of discrimination on the part of various
federal agencies. See, e.g., Compl. flfl l8-19,24,27,33-34,36-37,46,62,68-69,
73. The primary types of discrimination alleged in the complaint are racial
discrimination and discrimination against persons with disabilities. 1d However,
it is well established that this court cannot entertain claims for civil rights
violations under various federal statutes such as 42 U.S.C. $$ 1981, 1983, 1985,
1986 (2012). E.g.,Jeffersonv. United States, 104 Fed. Cl. 81, 89 (2012) (citing
cases). Nor can this court review allegations of discrimination against persons
with disabilities under the authority of the ADA or the Rehabilitation Act of 1973,
29 U.S.C. Q0 704-794e (2012). Searles v. United States, 88 Fed. Cl. 801, 805
(2009). Because this court lacks jurisdiction over plaintiffs' discrimination
claims, those claims must be dismissed.s

       B.       Tort Claims

       The complaint identifies a number of federal agencies, as well as the
"Federal Reserve System," and accuses these agencies of wrongful conduct. See
Compl. at 1 (alleging that federal agencies such as the "United States fBankruptcy]
Trustee Program," the "Federal Reserve System[]," the "United States Social
Security Administration," and the "United States Department of Justice" are
responsible for harming plaintiffs); g 9 (alleging that a bankruptcy trustee "failed
to adhere to [his] statutory . . . duties"); tl 17 (alleging that the Federal Reserve
System "faiied to adhere to [its] statutory . . . duties"); tl 21 (alleging that the
Department of Justice "failed to adhere to [its] statutory . . . duties"); 'tf 23
(alleging that the United States Public Defender Office was negligent); !f 64
(alleging generally that the United States is liable for the intentional infliction of



       '/  The complaint contains no specific references to passages of the United States
Constitution in suppo( ofthe violations of "constitutional rights" alleged in the complaint, other
than to the Fourteenth Amendment. Compl. at 1. The court believes that plaintiffs intended to
invoke the takings clause ofthe Fifth Amendment, rather than the Fourteenth Amendment, a
topic which is discussed infra. Even ifplaintiffs had meant to invoke the protections ofthe
Fourteenth Amendment, those constitutional guarantees are not considered money-mandating
against the United States so as to confer jurisdiction on this court. See, e.g.,Fryv. United States,
72Fed.Cl.500,508 (2006). As for plaintiffs' request for ajury trial under the Seventh
Amendment, Compl. at I 5- I 6, this right has been held to be inapplicable in the Court of Federal
Claims. E g, Webster v. Unitecl States,74 Fed. Cl. 439,444 (2006) (citing United States v.
Sherwood, 3 12 U.S. 584, 587 (i941).
         Case 1:15-cv-01579-LJB Document 5 Filed 01/08/16 Page 7 of 9




emotional distress upon plaintiffs). These allegations ofwrongdoing and
negligence are examples oftort claims. This court, however, cannot consider tort
claims against federal agencies. .E.g., Brown v. United States,105 F.3d 621,623
(Fed. Cir. 1997) (citations omitted). For this reason, plaintiffs' tort claims against
federal agencies must be dismissed for lack of iurisdiction.

      C.     Miscellaneous Statutory Claims

       Plaintiffs cite to numerous federal statutes in addition to the ones discussed
supra. The subject matter of these statutes varies and includes age discrimination,
bankruptcy, access to credit, civil rights, homelessness, fair housing, subsidized
housing,andtherighttoaspeedytrial. Compl.tTflT-15,21,23,30,33-36,40,46,
62,69,71,75-79. None of these statutes is money-mandating so as to support a
claim within this court's jurisdiction. As discussed previously, the court cannot
entertain such claims where no jurisdictional basis lies for the action. The court
therefore must dismiss any and all claims based on the numerous federal statutes
cited in plaintiffs' complaint.

      D.     No Takings Claim

      The court also considers whether the complaint contains a takings claim.
The general introduction to the complaint contains language that seemingly
attemDts to invoke the constitutional basis for a takinss claim:

             This action seeks just compensation from the United
             States for property ([]Jobs, Housing and Social Security
             Benefits SSVSSDI) taken from Plaintifi [by] the United
             States, through its agencies . . . .

Compl. at l. The court cannot construe the factual allegations of the complaint,
however, to present a non-frivolous allegation ofa taking of property for the use
of the govemment. Cf Jan's Helicopter Serv., Inc. v. Fed. Aviation Admin.,525
F.3d 1299,1309 (Fed. Cir. 2008) (to present a takings claim, the complaint must
contain "a nonfrivolous allegation that [the plaintiffJ is within the class of
plaintiffs entitled to recover [from the United States] under [a] money-mandating
source" of law).
         Case 1:15-cv-01579-LJB Document 5 Filed 01/08/16 Page 8 of 9




       Instead, plaintiffs allege, repeatedly, that federal agencies have acted
arbitrarily and capriciously toward them in violation of the Administrative
Procedures Act (APA). Compl. 'l|fl 7-8, 12, 14-15,17,25. Plaintiffs cannot
convert an APA claim into a takings claim by characterizing these administrative
actions as the taking of plaintiffs' property. See Katz v. Cisneros, 16 F .3d 1204,
 1207 (Fed. Cir. 1994) ("Regardless ofthe characterization ofthe case ascribed by
[a plaintiffl in its complaint, we look to the true nature of the action in determining
the existence or not of jurisdiction.") (citations omitted). Here, plaintiffs have not
identified a specific propefty right that was taken from them by the United States
for public use.u In contrast, they have named a number of federal agencies and
have found fault with the decisions or actions taken by those agencies. The
gravamen of plaintiffs' complaint is not a takings claim but an APA claim, or,
perhaps, multiple APA claims. Because this court does not possess jurisdiction
over APA claims, the complaint must be dismissed for lack ofjurisdiction.
Martinez v. United States, 333 F.3d 1295,1313 (Fed. Cir. 2003) (en banc) (citing
Murphy v. united states, 993 F.2d, 87 l, 87 4 (Fed. Cir. I 993).

       E.      Collateral Attack on the Judgments of Federal Courts Improper

       Plaintiffs' complaint nowhere specifically states that Mr. Brown and Mr.
Lipscomb seek review of the decisions of the Seventh Circuit or of the district
court. To the extent, however, that the complaint implies that these federal courts
erred in denying plaintiffs relief, this court is powerless to reverse or alter the
outcome of those lawsuits. This court does not possess jurisdiction to review
decisionsofotherfederalcourts. See,e.g.,Joshuav.UnitedStates,, 17F.3d378,
380 (Fed. Cir. 1994) (stating that "the Court of Federal Claims does not have
iurisdiction to review the decisions of district courts"); Brownv. United States,88


        6/ The term "property" has a specific definition for the purposes of the takings clause of
the Fifth Amendm ent. See, e.g., Zucker v. United States,758 F.2d 637,640 (Fed. Cir. 1985)
(holding that expectations regarding employment-related retirement benefits are not "property"
for the purposes of the takings clause); see also Addams-More v. United States,296 F . App'x 45,
47-48 (Fed. Cir. 2008) (stating that the denial ofSocial Security benefits does not give rise to a
takings claim under the Fifth Amendment (citing Marcus v. United States,909 F.2d 1470, 1471
(Fed. Cir. 1990)));Landersv. UnitedStates,39 Fed. CI.297,301 (1997) (dismissing a claim
brought before this court related to an eviction because such a claim was not a takings claim but
a claim that could only proceed in state court). The types of govemmental action described in the
complaint are not deprivations of "property" under Fifth Amendment jurisprudence.
            Case 1:15-cv-01579-LJB Document 5 Filed 01/08/16 Page 9 of 9




Fed. Cl. 795,799 n.4 (2009) (stating that "this court is without authority to revrew
decisions of other federal courts") (citations omitted). To the extent that plaintiffs'
suit in this couft attempts to collaterally attack other federal court decisions, any
such claim must be dismissed for lack of iurisdiction.

       F.      Injunctive Relief

       Finally, the court notes that plaintiffs seek injunctive relief from this court.
Compl. at 15. This court does not possess equitable powers that could assist
plaintiffs. E.g.,Brown, 105 F.3d at624 (citingUnited States v. King,395 U.S. l,
2-3 (1969)). For this reason, the courl must also dismiss the request for injunctive
relief presented in plaintiffs' complaint.

                                        CONCLUSION

       The court has considered all ofthe claims and sources of law cited in the
complaint and construed them in a light most favorable to Mr. Brown and Mr.
Lipscomb. This court lacks jurisdiction over all of plaintiffs' claims.T Inasmuch
as the court has no power to expand its jurisdiction to address plaintiffs' legal
claims, it would be futile for them to return to this court for a renewed
consideration ofplaintiffs' requests for damages and other relief. Should plaintiffs
choose to appeal the dismissal of their suit, a notice of appeal must be filed
pursuant to RCFC 58.1.

     Accordingly, it is hereby ORDERED that the Clerk's office is directed to
DISMISS the complaint for lack of subject matter jurisdiction, without prejudice.




                                                      L




        7/ Transfer of plaintiffs' complaint to another federal court would not be in the interest of
justice. The court sees no claim in the complaint that would proceed to a ruling on the merits.
